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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION


 ROTHSCHILD CONNECTED                      §
 DEVICES INNOVATIONS, LLC;                 §
                                           §
        Plaintiff,                         §
                                           §
 VS.                                       §    CIVIL CASE NO. 4:21-CV-479
                                           §    COMPLAINT FOR DECLARATORY
 CONSTANCE KAZANJIAN;                      §    JUDGMENT
                                           §    JURY DEMAND
        Defendant.                         §


        PLAINTIFF’S AMENDED RULE 41 VOLUNTARY DISMISSAL

TO THE HONORABLE COURT:

       COMES         NOW   PLAINTIFF,     ROTHSCHILD         CONNECTED        DEVICES

INNOVATIONS, LLC (RCDI),          giving Notice that it desires to DISMISS WITHOUT

PREJUDICE its claims against Constance Kazanjian pursuant to FRCP 41(a).

       1. Defendant has not filed an answer nor a motion for summary judgment. This

          matter is not a class action under FRCP 22 nor an application for a receiver

          under FRCP 66. Likewise there has been no previous dismissal of these claims

          against Constance Kazanjian in State or Federal courts.         Therefore this

          dismissal is without prejudice. FRCP 41(a).

       2. To the extent the Court requires an order, a Proposed Order is attached.

                                       PRAYER

       WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that

this matter be dismissed WITHOUT PREJUDICE.
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                                    Respectfully submitted,

                                    HIGDON LAWYERS


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